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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

 DOROTHY CAROL JONES,                             )
                                                  )
        Plaintiff,                                )
 v.                                               )
                                                  ) CASE NO.: 1:16-cv-02522-TWP-TAB
 MED-BILL CORPORATION,                            )
                                                  )
                                                  )
        Defendant.                                )

                           ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff, Dorothy Carol Jones, by counsel, and Defendant, Med-Bill Corporation, by

counsel, having filed with this Court their Agreed of Dismissal with Prejudice and the Court having

reviewed same, now finds that this matter should be dismissed.

       IT IS THEREFORE ORDERED by this Court that the above cause of action be and the

same is hereby dismissed, with prejudice.
         Date: 4/20/2017

                                                       ________________________
                                                       Hon. Tanya Walton Pratt, Judge
                                                       United States District Court
                                                       Southern District of Indiana
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